Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 1 of 15 PageID #:
                                  21137



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  BLUE SPIKE, LLC,                              §
                                                §
         Plaintiff,                             §       Consolidated Civil Action No. 6:12-
                                                §                 CV-499-LED
  v.                                            §
                                                §
  TEXAS INSTRUMENTS, INC.,                      §          JURY TRIAL DEMANDED
                                                §
         Defendant.                             §
                                                §

                PLAINTIFF BLUE SPIKE LLC’S RESPONSES TO
         DEFENDANT AUDIBLE MAGIC’S FIRST SET OF INTERROGATORIES

         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the rules and

  orders of this Court, Plaintiff Blue Spike, LLC hereby objects and responds to Defendant

  Audible Magic Corporation’s (“Audible Magic’s”) First Set of Interrogatories as follows:


         GENERAL OBJECTIONS

         Blue Spike, LLC makes the following General Objections to Audible Magic’s First Set of

  Interrogatories, which apply to each Interrogatory therein regardless of whether a General

  Objection is specifically incorporated into a response to a particular Interrogatory.

         1.      Blue Spike, LLC objects to Defendant’s definition of “Blue Spike, LLC” to the

  extent it includes anyone other than Blue Spike, LLC. Like Audible Magic’s definition of itself

  in paragraph 3 of “Definitions and Instructions,” Blue Spike, LLC hereby responds on behalf of

  Blue Spike, LLC only.

         2.      To the extent the Interrogatories, or any Interrogatory or Instruction therein, may

  be construed as calling for the disclosure of information subject to the attorney-client privilege,

  work-product immunity, common-interest privilege, or any other applicable protection from



                                                    1
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 2 of 15 PageID #:
                                  21138



  discovery, Blue Spike, LLC hereby claims such privileges and immunities and objects to any

  Interrogatories on such grounds. Blue Spike, LLC does not waive, intentionally or otherwise,

  any privilege, immunity, or other protection that may be asserted to protect any information from

  disclosure.

         3.      Nothing in these responses is an admission by Blue Spike, LLC of the existence,

  relevance, or admissibility of any information or document. Blue Spike, LLC reserves all

  objections and other questions as to competency, relevance, materiality, privilege, or

  admissibility related to the use of its response and any document or thing identified in its

  responses as evidence for any purpose whatsoever in any subsequent proceeding in this action or

  any other action.

         4.      Blue Spike, LLC objects to each Interrogatory, Definition, or Instruction to the

  extent it purports to impose obligations beyond or inconsistent with those imposed by the Federal

  Rules of Civil Procedure, the applicable rules and orders of this Court, or any stipulation or

  agreement of the parties to this action.

         5.      Blue Spike, LLC objects to each Interrogatory to the extent it seeks information

  that is publicly available, cumulative or duplicative of information already produced, or more

  efficiently and appropriately obtained through other forms of discovery that are more convenient,

  less expensive, or less burdensome.

         6.      Blue Spike, LLC objects to each Interrogatory to the extent it seeks information of

  a third party that is in Blue Spike, LLC’s possession, custody or control but subject to an

  obligation of confidentiality to a third party. Blue Spike, LLC will provide such information

  only to the extent it can do so consistent with its obligations to any such third parties.




                                                    2
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 3 of 15 PageID #:
                                  21139



         7.      Blue Spike, LLC objects to each Interrogatory and to the definitions of “You” and

  “Your” to the extent they seek information not within Blue Spike, LLC’s possession, custody, or

  control and not kept by Blue Spike, LLC in its ordinary course of business. Blue Spike, LLC

  will only provide relevant, non-privileged information that is within Blue Spike, LLC’s present

  possession, custody, or control and available after a reasonable investigation.

         8.      Blue Spike, LLC’s discovery and investigation in connection with this litigation

  are continuing. As a result, Blue Spike, LLC’s responses are limited to information obtained to

  date, and are given without prejudice to Blue Spike, LLC’s right to amend or supplement its

  responses after considering information obtained through further discovery or investigation.

  Blue Spike, LLC expressly reserves the right to supplement, clarify, revise, or correct any or all

  of the responses and objections herein, and to assert additional objections or privileges, in one or

  more subsequent supplemental response(s).

         9.      Blue Spike, LLC objects to each Interrogatory as premature and unduly

  burdensome to the extent that it seeks information likely to depend on construction of claim

  terms and/or expert analysis of the Patents-in-Suit, the deadlines for which have not yet been set.


         SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES

         INTERROGATORY NO. 1:

          Describe in detail the circumstances surrounding the conception and reduction to practice
  of the alleged invention(s) for each asserted claim of the Blue Spike Patents-in-Suit on a claim-
  by-claim basis, including the precise dates of conception and of actual or constructive reduction
  to practice, the date and circumstances of first experimental or test use, the steps constituting
  diligence from conception to actual or constructive reduction to practice, and identify the
  evidence that supports your contentions. Such description should include the priority date that
  you assert corresponds to each asserted claim. Such description should also include an
  identification of each person, including third parties, who worked on the development of the
  alleged invention described and claimed in each asserted claim, including each person’s role.



                                                   3
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 4 of 15 PageID #:
                                  21140



         RESPONSE TO INTERROGATORY NO. 1:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence. Blue Spike, LLC also objects to this Interrogatory to the

  extent it seeks information protected from disclosure by the attorney-client privilege, work-

  product immunity, common-interest privilege, or any other applicable protection from discovery.

  Blue Spike, LLC objects to this Interrogatory to the extent that it is compound and/or is

  comprised of subparts constituting more than one interrogatory; Blue Spike, LLC reserves the

  right to object to the number of interrogatories based on Federal Rule of Civil Procedure

  33(a)(1). Blue Spike, LLC further objects to this Interrogatory on the grounds that the phrase

  “first experimental or test use” and the term “development” are vague and ambiguous.

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that Mr. Scott Moskowitz founded Blue Spike, Inc. in November 1997. Just over two

  years later, he, along with Mr. Michael Berry, filed the first patent application related to signal

  recognition technology, which issued as the ’472 Patent.           In describing this pioneering

  technology, Moskowitz coined the term “signal abstracting,” which enhanced the ability to

  catalogue, archive, identify, authorize, transact, and monitor the use and/or application of signals

  such as images (for example, photographs, paintings, and scanned fingerprints), audio (for

  example, songs, jingles, commercials, movies soundtracks, and their versions), video (for

  example, videos, television shows, commercials, and movies), and multimedia works. Pursuant

  to Federal Rule of Civil Procedure 33(d), Blue Spike, LLC refers Defendant to Plaintiff’s Initial

  Disclosures and initial document production bates labeled BLU000001 – BLU002261.




                                                   4
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 5 of 15 PageID #:
                                  21141



         INTERROGATORY NO. 2:

         Describe in detail the first public use, public disclosure, offer for sale, sale, and
  importation of each product or service developed, offered for sale, or sold by Blue Spike that
  embodies any of the alleged invention(s) claimed in the Blue Spike Patents-in-Suit. Such
  description should identify each practicing or embodying product or service by name and version
  number and provide a chart explaining with particularity where each claim element is found
  within each such product or service.

         RESPONSE TO INTERROGATORY NO. 2:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad. Blue Spike, LLC also objects to this Interrogatory as compound

  and/or is comprised of subparts constituting more than one interrogatory; Blue Spike, LLC

  reserves the right to object to the number of interrogatories based on Federal Rule of Civil

  Procedure 33(a)(1). Blue Spike, LLC further objects to this Interrogatory as premature and

  unduly burdensome to the extent that it seeks information likely to depend on construction of

  claim terms and/or expert analysis of the Blue Spike Patents-in-Suit, the deadlines for which

  have not yet been set.

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that it has never sold any product or service embodying the inventions claimed in the

  Blue Spike Patents-in-Suit.


         INTERROGATORY NO. 3:

          For all products or services identified in response to Interrogatory No. 2, describe in
  detail the sales, revenues, profits/losses, and customers of such products or services during the
  periods of time when they practiced or embodied the claimed inventions of the Blue Spike
  Patents-in-Suit.




                                                  5
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 6 of 15 PageID #:
                                  21142



         RESPONSE TO INTERROGATORY NO. 3:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  ground that it is not reasonably calculated to lead to the discovery of admissible evidence.

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that no products or services were identified in response to Interrogatory No. 2.


         INTERROGATORY NO. 4:

          Describe in detail each offer for sale, actual sale, or negotiation involving rights in any
  patent assigned to Blue Spike or in any patent in which Blue Spike has any right, interest, or title.
  Such offers for sale, actual sales, or negotiations of rights include, but are not limited to, any
  form of license, assignment, or covenant not to sue.

         RESPONSE TO INTERROGATORY NO. 4:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence. Blue Spike, LLC also objects to this Interrogatory to the

  extent that it is compound and/or is comprised of subparts constituting more than one

  interrogatory; Blue Spike, LLC reserves the right to object to the number of interrogatories based

  on Federal Rule of Civil Procedure 33(a)(1)..          Blue Spike, LLC further objects to this

  Interrogatory to the extent it seeks information protected from disclosure by the attorney-client

  privilege, work-product immunity, third-party confidentiality, or any other applicable protection

  from discovery.

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that it acquired complete interest in the Blue Spike Patents-in-Suit on May 15, 2012.

  All sales, actual sales, and negotiations of rights relating to the Blue Spike Patents-in-Suit have

  previously been disclosed. Pursuant to Federal Rule of Civil Procedure 33(d), Blue Spike, LLC


                                                   6
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 7 of 15 PageID #:
                                  21143



  refers Defendant to the documents bates labeled BLU002261 – BLU002723 and BLU013210 –

  BLU013251.


         INTERROGATORY NO. 5:

         Describe in detail the ownership history of the Blue Spike Patents-in-Suit, including
  without limitation: describe the terms and conditions of, and circumstances surrounding, Blue
  Spike’s acquisition of any of the Blue Spike Patents-in-Suit; describe any interests, legal or
  beneficial, owned by any third party with respect to any of the Blue Spike Patents-in-Suit or any
  recovery in this litigation; identify all persons involved in the transfer of ownership of any of the
  Blue Spike Patents-in-Suit; and identify all documents reflecting or relating to the ownership and
  assignment history of the Blue Spike Patents-in-Suit.

         RESPONSE TO INTERROGATORY NO. 5:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence. Blue Spike, LLC also objects to this Interrogatory to the

  extent that it is compound and/or is comprised of subparts constituting more than one

  interrogatory; Blue Spike, LLC reserves the right to object to the number of interrogatories based

  on Federal Rule of Civil Procedure 33(a)(1).          Blue Spike, LLC further objects to this

  Interrogatory to the extent it seeks information protected from disclosure by the attorney-client

  privilege, work-product immunity, third-party confidentiality, or any other applicable protection

  from discovery.

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that Blue Spike, Inc. assigned the Blue Spike Patents-in-Suit to Blue Spike, LLC on

  May 15, 2012. Inter alia, the assignment includes all rights to collect for money for and obtain

  injunctions based upon, past infringement. Blue Spike, Inc. was assigned the patent rights during

  patent prosecution and was the original assignee of the Blue Spike Patents-in-Suit. Blue Spike,



                                                   7
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 8 of 15 PageID #:
                                  21144



  LLC is the only entity that has an ownership interest in the Blue Spike Patents-in-Suit.

  No individual has an ownership interest in the Blue Spike Patents-in-Suit.


         INTERROGATORY NO. 6:

         Identify the date on which Blue Spike contends that it gave actual or constructive notice
  of the Blue Spike Patents-in-Suit to Audible Magic and describe in detail such actual or
  constructive notice.

         RESPONSE TO INTERROGATORY NO. 6:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it seeks information protected from disclosure by the attorney-client privilege,

  work-product immunity, or any other applicable protection from discovery. Blue Spike, LLC

  further objects to this Interrogatory on the grounds it is overbroad, unduly burdensome, and not

  reasonably calculated to lead to the discovery of admissible evidence. Blue Spike, LLC also

  objects to this Interrogatory to the extent that it is compound and/or is comprised of subparts

  constituting more than one interrogatory; Blue Spike, LLC reserves the right to object to the

  number of interrogatories based on Federal Rule of Civil Procedure 33(a)(1).

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that it put Defendant Audible Magic on actual or constructive notice of the patents-in-

  suit in 2006. As discovery has only recently commenced, Blue Spike, LLC will supplement its

  response after further discovery has been conducted.


         INTERROGATORY NO. 7:

           Separately for each Accused Functionality, describe the circumstances surrounding Blue
  Spike’s knowledge or understanding of each such Accused Functionality, including at least: how
  Blue Spike first learned of each such Accused Functionality, the date(s) Blue Spike acquired
  such knowledge, and the identity of each person likely to possess knowledge or documents that
  relate to Blue Spike’s response [sic; to] this interrogatory.

                                                  8
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 9 of 15 PageID #:
                                  21145



         RESPONSE TO INTERROGATORY NO. 7:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence. Blue Spike, LLC also objects to this Interrogatory to the

  extent that it is compound and/or is comprised of subparts constituting more than one

  interrogatory; Blue Spike, LLC reserves the right to object to the number of interrogatories based

  on Federal Rule of Civil Procedure 33(a)(1). Blue Spike, LLC objects to this Interrogatory to the

  extent it seeks information protected from disclosure by the attorney-client privilege, work-

  product immunity, or any other applicable protection from discovery. Blue Spike, LLC further

  objects to this Interrogatory as premature and unduly burdensome to the extent that it seeks

  information likely to depend on construction of claim terms and/or expert analysis of the Blue

  Spike Patents-in-Suit, the deadlines for which have not yet been set.

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that all pre-suit investigations are covered by the attorney client privilege and the work

  product immunity doctrine.


         INTERROGATORY NO. 8:

          For each asserted claim of the Blue Spike Patents-in-Suit, identify the features and
  advantages over the prior art of each embodiment of the alleged invention on an element-by-
  element basis, including whether the alleged invention claimed is a combination of elements in
  the prior art, and, if so, what if anything you contend is novel about the combination.

         RESPONSE TO INTERROGATORY NO. 8:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad and unduly burdensome. Blue Spike, LLC also objects to this

  Interrogatory to the extent that it is compound and/or is comprised of subparts constituting more


                                                  9
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 10 of 15 PageID #:
                                   21146



  than one interrogatory; Blue Spike, LLC reserves the right to object to the number of

  interrogatories based on Federal Rule of Civil Procedure 33(a)(1). Blue Spike, LLC objects to

  this Interrogatory to the extent it seeks information protected from disclosure by the attorney-

  client privilege, work-product immunity, or any other applicable protection from discovery. Blue

  Spike, LLC further objects to this Interrogatory as premature and unduly burdensome to the

  extent that it seeks information likely to depend on construction of claim terms and/or expert

  analysis of the Blue Spike Patents-in-Suit, the deadlines for which have not yet been set. Blue

  Spike, LLC also objects to this Interrogatory on the grounds that the phrase “prior art of each

  embodiment of the alleged invention” is vague and ambiguous.

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that it will supplement its response to this Interrogatory once an agreement is reached

  with the serving party of this interrogatory as to what item it would like Blue Spike, LLC to

  differentiate and that each item to be distinguished be treated as a separate interrogatory. Blue

  Spike, LLC received Defendants’ invalidity contentions and disclosures on the Court’s deadline

  (May 15) and will supplement accordingly.


         INTERROGATORY NO. 9:

          For the Audible Magic Patent-in-Suit, state the date when you first became aware of such
  patent and describe the circumstances, including the person(s) who gained such knowledge and
  all documents that refer or relate to those circumstances.

         RESPONSE TO INTERROGATORY NO. 9:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence. Blue Spike, LLC also objects to this Interrogatory to the



                                                 10
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 11 of 15 PageID #:
                                   21147



  extent it seeks information protected from disclosure by the attorney-client privilege, work-

  product immunity, or any other applicable protection from discovery.

          Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that it became aware of the Audible Magic patent-in-suit when Audible Magic filed its

  counterclaim in July 2013. Blue Spike, LLC is diligently searching through records and will

  supplement if new information is discovered.


          INTERROGATORY NO. 10:

          Identify all offers for sale, sales, leases, and licenses to the Accused Blue Spike Product
  including, for each such transaction, the model and number of units offered for sale, sold, leased,
  or licensed, the date of the transaction, the name of the customer, the amount paid by the
  customer, and all other terms of the transaction.

          RESPONSE TO INTERROGATORY NO. 10:

          In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence. Blue Spike, LLC also objects to this Interrogatory to the

  extent it seeks information protected from disclosure by the attorney-client privilege, work-

  product immunity, or any other applicable protection from discovery. Blue Spike, LLC further

  objects to this Interrogatory to the extent that it is compound and/or is comprised of subparts

  constituting more than one interrogatory; Blue Spike, LLC reserves the right to object to the

  number of interrogatories based on Federal Rule of Civil Procedure 33(a)(1).

          Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that for a short period from early 2012 until August 2012, Blue Spike, LLC offered to

  create the Giovani Abstraction Machine on myshopify.com, but no product or service was ever

  sold.


                                                  11
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 12 of 15 PageID #:
                                   21148



         INTERROGATORY NO. 11:

          Describe, in detail, all communications and interactions between Scott Moskowitz (CEO
  of Blue Spike and named inventor on the Blue Spike Patents-in-Suit) and Muscle Fish LLC
  (including its principals Erling Wold, Doug Keislar, Thom Blum and Jim Wheaton or any other
  employee or representative), Wired Air LLC or Audible Magic Corp. (including their principals
  Vance Ikezoye and Jim Schrempp or any other employee or representative).

         RESPONSE TO INTERROGATORY NO. 11:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence.     Blue Spike, LLC also objects to this Interrogatory as

  oppressive and meant to harass. Blue Spike, LLC objects to this Interrogatory to the extent it

  seeks information protected from disclosure by the attorney-client privilege, work-product

  immunity, or any other applicable protection from discovery. Blue Spike, LLC further objects to

  this Interrogatory to the extent that it is compound and/or is comprised of subparts constituting

  more than one interrogatory; Blue Spike, LLC reserves the right to object to the number of

  interrogatories based on Federal Rule of Civil Procedure 33(a)(1).

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds pursuant to Federal Rule of Civil Procedure 33(d) by directing Defendant to the

  documents Blue Spike, LLC previously produced with bates labels BLU013183-BLU013192,

  BLU013194, and BLU13196-BLU013201.


         INTERROGATORY NO. 12:

         Describe, in detail, all facts, information and beliefs within the knowledge or possession
  of Scott Moskowitz (CEO of Blue Spike and named inventor on the Blue Spike Patents-in-Suit)
  regarding the products, services or activities of Muscle Fish LLC, Wired Air LLC and Audible
  Magic Corp. prior to September 7, 2000.




                                                 12
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 13 of 15 PageID #:
                                   21149



         RESPONSE TO INTERROGATORY NO. 12:

         In addition to its General Objections, Blue Spike, LLC objects to this Interrogatory on the

  grounds that it is overbroad, unduly burdensome, and not reasonably calculated to lead to the

  discovery of admissible evidence.     Blue Spike, LLC also objects to this Interrogatory as

  oppressive and meant to harass. Blue Spike, LLC objects to this Interrogatory to the extent it

  seeks information protected from disclosure by the attorney-client privilege, work-product

  immunity, or any other applicable protection from discovery. Blue Spike, LLC further objects to

  this Interrogatory to the extent that it is compound and/or is comprised of subparts constituting

  more than one interrogatory; Blue Spike, LLC reserves the right to object to the number of

  interrogatories based on Federal Rule of Civil Procedure 33(a)(1).

         Subject to and without waiving its General and Specific Objections, Blue Spike, LLC

  responds that, pursuant to Federal Rule of Civil Procedure 33(d), Blue Spike, LLC refers

  Defendant to the documents bates labeled BLU013183-BLU013192, BLU013194, and

  BLU13196-BLU013201.


                                                      Respectfully Submitted,

                                                      /s/ Randall T. Garteiser
                                                      Randall T. Garteiser
                                                        Texas Bar No. 24038912
                                                        rgarteiser@ghiplaw.com
                                                      Christopher A. Honea
                                                        Texas Bar No. 24059967
                                                        chonea@ghiplaw.com
                                                      Christopher S. Johns
                                                        Texas Bar No. 24044849
                                                        cjohns@ghiplaw.com
                                                      Kirk J. Anderson
                                                        California Bar No. 289043
                                                      Peter S. Brasher
                                                        California Bar No. 283992
                                                      GARTEISER HONEA, P.C.


                                                 13
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 14 of 15 PageID #:
                                   21150



                                            218 N. College Ave.
                                            Tyler, Texas 75702
                                            Telephone: (903) 705-7420
                                            Facsimile: (888) 908-4400

                                            Counsel for Blue Spike LLC




                                       14
Case 6:12-cv-00499-RWS-CMC Document 1654-8 Filed 07/24/14 Page 15 of 15 PageID #:
                                   21151



                                   CERTIFICATE OF SERVICE

         I, Peter S. Brasher, certify that the foregoing document was served electronically on
  opposing counsel pursuant to Local Rule CV-5(a)(7)(c) on May 16 to the following email
  addresses:

   Alyssa Margaret Caridis      acaridis@orrick.com
   Christopher J. Higgins       chiggins@orrick.com
   Gabriel M. Ramsey            gramsey@orrick.com
   Indra N. Chatterjee          nchatterjee@orrick.com
   Eric Hugh Findlay            efindlay@findlaycraft.com
   Walter Wayne Lackey, Jr.     wlackey@findlaycraft.com
                                audibleMagic-bluespike@orrick.com


                                                   /s/ Peter S. Brasher
                                                   Peter S. Brasher




                                              15
